Case 6:19-cv-00023-NKM-RSB Document 84-1 Filed 03/22/21 Page 1 of 4 Pageid#: 3614




                                  Draft Screening Questionnaire

  Name: __________________________________

  Participant # ______________________________



     1. Within the last 14 days, have you traveled outside of Virginia?

        ____ YES      ____ NO

        If yes, please explain.



     2. Within the last 14 days, have you been diagnosed with COVID-19?

        ____ YES      ____ NO

        If yes, please explain.



     3. Within the last 14 days, have you had contact with anyone who has been diagnosed with
        COVID-19 or who is currently sick with suspected COVID-19?

        ____ YES      ____ NO

        If yes, please explain.



     4. Within the last 14 days, have you, or someone you have been in close contact with, been
        directed to quarantine, isolate, or self-monitor?

        ____ YES      ____ NO

        If yes, please explain.




                                                 1
Case 6:19-cv-00023-NKM-RSB Document 84-1 Filed 03/22/21 Page 2 of 4 Pageid#: 3615




     5. Within the last 14 days, have you experienced a fever or chills, persistent cough,
        shortness of breath or difficulty breathing, new loss of taste or smell, or other flu-like
        symptoms?

        ____ YES      ____ NO

        If yes, please explain.



     6. Within the last 14 days, have you resided with, or been in close contact with, any person
        in the above-mentioned categories?

         ____ YES      ____ NO

        If yes, please explain.



     7. Within the last 14 days, have you received a test for COVID-19?

        ____ YES      ____ NO

        If yes, when and what was the result?



     8. Within the last 14 days, have you requested to be tested for COVID-19 and been denied
        the test?

         ____ YES      ____ NO

        If yes, please explain.




                                                   2
Case 6:19-cv-00023-NKM-RSB Document 84-1 Filed 03/22/21 Page 3 of 4 Pageid#: 3616




     9. Are you a healthcare worker directly involved with the treatment of the COVID-19
        disease, or work in another field that puts in you in direct contact with people who have
        been diagnosed with COVID-19?

        ____ YES      ____ NO

        If yes, please explain.



        Are you over age 65, or a person of any age with an underlying medical condition that
        puts you at a higher risk of developing serious health complications from COVID-19, or
        do you live with or provide direct care for a vulnerable person?

        ____ YES      ____ NO

        If yes, please explain.



     10. Do you have children at home who require your direct supervision due to school and/or
         daycare closings? Note: only answer YES if there is NO ONE else in the household who
         can provide care during your jury service.

        ____ YES      ____ NO

        If yes, please explain.



     11. Have you experienced any economic or job-related hardships as a result of COVID-19
         that you believe would have a significant impact on your ability to pay attention and fully
         concentrate on the evidence in this case? ____ YES ____ NO

        If yes, please explain.




                                                  3
Case 6:19-cv-00023-NKM-RSB Document 84-1 Filed 03/22/21 Page 4 of 4 Pageid#: 3617




     12. The Court will be implementing procedures to maintain physical distance and minimize
         the potential exposure to COVID-19 in the courtroom. Even with these precautions, do
         you have any concerns related to COVID-19 that would affect your ability to pay
         attention and fully concentrate on the evidence in this case?

        ____ YES      ____ NO

        If yes, please explain.



        If yes, do you believe that you can set aside your concerns regarding COVID-19 and
        focus your attention on listening to the evidence and deliberating with other jurors?

          ____ YES      ____ NO



     13. Have you been vaccinated against COVID-19?

        ____ YES      ____ NO

        If yes, please explain.



     14. If yes to Number 13, do you still require another dose of a two-dose vaccine?

        ____ YES      ____ NO

        If yes, please explain.



     15. Are you willing to abide by any rules that the Court institutes regarding social distancing
         and wearing masks during trial if you are selected as a juror? ____ YES ____ NO

        If no, please explain.



     16. Are you willing to notify the Court immediately if, during trial, you feel ill OR are
         exposed to anyone feeling ill? ____ YES ____ NO

        If no, please explain.




                                                  4
